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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

ANNIE AGNEW and NAYSHAWN                     )
EDWARDS, as Independent                      )
Co-Administrators of the Estate of           )
NATHANIEL (NATE) EDWARDS,                    )
                                             )
                      Plaintiff,             )       Case No:    3:18-cv-50035
                                             )
v.                                           )       Judge Ian Johnston
                                             )       Magistrate Margaret J. Schneider
SERGEANT JONATHAN CATER,                     )
Individually and The CITY OF                 )
ROCK FALLS,                                  )       JURY DEMANDED
                                             )
                      Defendants.            )


        DEFENDANTS’ LOCAL RULE 56.1 STATEMENT OF MATERIAL FACTS

        In support of their Motion for Summary Judgment, brought pursuant to Federal Rule of

Civil Procedure 56, DEFENDANTS, SERGEANT JONATHAN CATER and THE CITY OF

ROCK FALLS, present the following Statement of Material Facts, pursuant to local Rule 56.1:

        The Pursuit on January 26, 2018

        1.     On January 26, 2018, Rock Falls police officer Dustin Sugars was on patrol when

he heard a dispatch for a suspicious subject. [See deposition of Dustin Sugars attached hereto as

A, pp. 13:21 – 14:13, See also video footage of the incident attached hereto as Exhibit F.]

        2.     Subsequently, Officer Sugars encountered a white Cadillac that was, amongst other

things, weaving back and forth from line to line down the road going 41 mph; the driver of the

white Cadillac was later identified as the decent, Nathaniel Edwards [Ex. A, pp. 14:14 – 17:8, Ex.

F.]
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       3.      After following Mr. Edwards for less than a mile, Officer Dustin activated his lights

and called in the license plate of the vehicle. [Ex. A, pp. 18:7 – 18, 28:3 – 22, Ex. F.]

       4.      Mr. Edwards did not pull over so Officer Sugars, while in pursuit, called for back-

up and Whiteside County Sheriff Deputy Coutts joined the pursuit, as did Defendant Cater and his

trainee, Officer Riley. All activated the emergency lights on their squad cars. [Ex. A, pp. 21:17 –

22:24, 25:12 – 19, See Sergeant Cater’s deposition attached hereto as Exhibit B, pp. 45:1 – 24;

Deposition of Officer Riley attached hereto as Exhibit C, p. 81:3 – 9; Deposition of Sean Coutts

attached hereto as Exhibit D, pp. 9:21 – 10:1, Ex. F.]

       5.      Mr. Edwards fled from the police at a slow rate of speed by circling a residential

area of Rock Falls, and eluded the police by running stop signs and driving around police

blockades, until he pulled into a driveway at 1304 Franklin Street in Rock Falls, IL. [Ex. A, pp.

20:1 – 27:15, 32:17 – 33:4, Ex. B, pp. 46:5 – 47:6, 48:17 – 50:13, 117:8 – 119:6, Ex. C, pp. 30:7

– 31:4, Ex. D, pp 37:5 – 39:9, Ex. F.]

       6.      Although parked, Mr. Edward’s vehicle was still running. [Ex. A, p. 45:14 – 15,

Ex. O, pp 23:9 – 24:6.]

       7.      Due to the circumstances surrounding this traffic stop, Deputy Coutts believed it

was a high risk and dangerous traffic stop. [Ex. D, 91:9 – 12, 102:11 - 23]

       1304 Franklin Avenue

       8.      Due to Mr. Edwards’ failure to stop, Officer Sugars approached the vehicle with

his duty weapon drawn, thinking that Mr. Edwards would flee on foot. [Ex. A, 32:7 – 16, 34:13

– 22, 44:23 – 45:3, Ex. F.]

       9.      Officer Sugars saw a female in the middle of the driveway coming from the garage;

Officer Sugars and Defendant Cater ordered her to go back into the residence and she complied.




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[Ex. A, pp. 36:5 – 37:7, 39:3 – 14, Ex B, p. 63:17- 20, Ex. F.]

       10.     While Officer Sugars stood at approximately the driver’s side door of the vehicle,

he loudly and authoritatively ordered Mr. Edwards several times to get out of the car/to open the

car door; Mr. Edwards did not comply. [Ex. A, pp. 39: 18 – 44:13, 46:6 – 22, Ex. F, Deposition of

Alvin Russell attached hereto as Exhibit J, pp. 28:20 – 33:19, Deposition of Jacob Anderson

attached hereto as Exhibit K, pp. 22:6 – 14, 24:21 – 25:24, Deposition of Jordan Babbitt attached

hereto as Exhibit L, pp. 23:15 – 24:2, 30:12 – 31:4, 36:21, 53:8 -9, Deposition of Ethan Smit

attached hereto as Exhibit M, pp. 23:19: - 25:16, 28:8 – 31:5, Deposition of Nicole Sanders

attached hereto as Exhibit O, pp 23:9 – 24:6, Deposition of Penny Smit attached hereto as Exhibit

P, pp. 27:3 – 23, 29:9 - 13.]

       11.     Because Mr. Edwards did not comply with Officer Sugars’ orders, Officer Sugars

attempted to break the driver’s side window with his flashlight, but was unable to do so. [Ex. A,

pp. 46:23 – 47:1, Ex. M, pp. 23:19: - 25:16.]

       12.     Mr. Edwards then looked at Officer Sugars and said “fuck you,” after which Officer

Sugars turned to the other officers and asked for a baton. [Ex. A. p. 53:5 – 19, Ex. M, pp. 23:19:

- 25:16, Exhibit O, pp 23:9 – 24:6.]

       13.     It was Officer Sugars plan to break the window with the baton, unlock the vehicle

and access the driver. [Ex. A, p. 69:1-5, Ex. M, pp. 23:19: - 25:16.]

       14.     Officer Sugars again attempted to get Mr. Edwards to comply with his orders and,

because nothing else was working, Officer Sugars said that if Mr. Edwards didn’t comply, he was

going to get shot. [Ex. 56:2 – 58:18, Ex. M, pp. 23:19: - 25:16, Exhibit O, pp. 27:14: - 20, Ex. P,

pp. 27:27:24 – 28:5, 39:16 – 40:3.]




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          15.   Mr. Edwards then said “Fuck you, bitch. Shoot me,” put his head against the

window where Officer Sugars’ gun was pointed and, again, did not comply with Officer Sugars

order. [Ex. A, pp. 70:5 – 15, Ex. M, pp. 23:19: - 25:16, Exhibit O, pp 23:9 – 24:6, Ex. P, pp.

29:14 – 30:8, 38:24 – 39:5.]

          16.   In the interim, a baton was thrown to Officer Sugars; it hit the top of Mr. Edward’s

vehicle, rolled off the car and landed on the ground by the Cadillac’s front tire. [Ex. A, 58:19 –

61:1, Ex. M, pp. 23:19: - 25:16.]

          17.   Officer Sugars, holstered his weapon, reached down to retrieve the baton, and while

he was bent over, heard the Cadillac’s engine “rev”, saw the vehicle reverse two feet and heard

shots come from somewhere behind him. [Ex. A, p. 61:3-66:10, 68:2 – 21, Ex. B p. 85:22 – 86:7,

Ex. F.]

          18.   When Officer Sugars looked up, the Cadillac had traveled approximately ten feet

from its initial location. [Ex. A, pp. 66:22 – 68:1, Ex. F.]

          Defendant Cater and Officer Riley

          19.   During Officer Sugars’ interaction with Mr. Edwards, Sergeant Cater and Officer

Riley came on the scene. [Ex. A, p. 54:2 – 24,

          20.   On the night of incident, Defendant Cater was a field training officer, training

Officer Riley, a probationary officer. [Ex. B p. 33:14 – 34:6, Ex. C, p. 8:12 - 24]

          21.   Upon arrival at 1304 Franklin Street, Defendant Cater and Officer Riley did not

know whether the car was stolen and did not know if the driver had a relationship with the residents

at 1304 Franklin Street. They did know that Mr. Edwards eluded and fled from the police. [Ex.

B, pp. 117:1 – 120:1, Ex. C, pp. 53:1 – 54:10]




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       22.     That said, Defendant Cater did not exit his vehicle with his weapon drawn. [Ex.

B, pp. 59:15 – 18, 60:1-2, Ex. F.]

       23.      When Defendant Cater exited his vehicle at 1304 Franklin Street, he believed that

Mr. Edwards was going to exit the car and run for the house. However, when Defendant Cater

realized that Mr. Edwards did not leave his vehicle, he moved behind the vehicle, within less than

a foot of the rear passenger side, and drew his weapon. [Ex. A, p. 54:2 – 24, Ex. B, p. 60:8 –

61:13, 73:5 – 74:8, 75:16, 80:11 – 15, 99:14-23, 116:17 – 24, Ex. J, pp. 28:20 – 31:18.]

       24.     Upon exiting his vehicle, Officer Riley positioned himself behind the Cadillac at

the back driver’s side. [Ex. A, p. 54:2 – 24, Ex. C, p. 39:7 -13, Ex. J, pp. 28:20 – 29:6.]

       25.     Officer Riley observed Mr. Edwards put the car in gear and observed the brake

lights come on and heard the car “rev” before Mr. Edwards reversed the car at a rapid pace. [Ex.

C, pp. 116:19 – 117:1, 119:1 – 13.]

       26.     Just before Mr. Edwards reversed his car at a rapid pace, Defendant Cater ordered

him not to move. [Ex. B, p. 97:5-9, See video footage attached here to as Exhibit G.]

       27.     Defendant Cater was hit by the reversing Cadillac and struggled to remain standing.

[Ex. A, p. 61:3-66:10, 68:2 – 21, Ex. D, pp. 95:17 – 96:6, Ex. J, pp. 33:20 – 34:8, 41:21 – 24,

61:13-19, 62:2-6.]

       28.     As a result, Officer Cater, while backpedaling, fired six consecutive shots at Mr.

Edwards from the back passenger side of the car. [Ex. B, 72:17 – 77:18, 80:16 – 21, Ex. J, pp.

33:20 – 34:8, Ex. J., pp. 35:17 – 36:1, Deposition of Emily Reed attached hereto as Exhibit N, p.

43:13- 17, Ex. O: p. 31:14-19.]

       29.     Defendant Cater remained behind the Cadillac the entire time he was firing his

weapon. [Ex. B, 106:2 – 10; Ex. C, 115:3 – 11, See video attached hereto as Group Ex. H.]




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         30.     When Defendant Cater fired the shots, Officer Riley was to Defendant Cater’s left

behind the Cadillac; Officer Riley was within arms’ length of Defendant Cater. [Ex B, pp. 85:8

– 17, 89:7-17]

         31.     At the time Officer Cater fired at the Cadillac, he believed Mr. Edwards was using

his car as a deadly weapon and was attempting to run him and the other officers over; Defendant

Cater fired to protect himself, Officer Riley and Officer Sugars from being run over by Mr.

Edwards. [Ex. B, pp. 120:2 – 122:1]

         32.     Officer Riley did not fire any shots because Officer Sugars was in his crossfire, and

he wasn’t able to take the shot safely. [Ex. B, p. 89:7-17, Ex. C, 98:4-12.]

         33.     After the shots were fired, Defendant Cater saw Defendant Edwards apply the brake

and put the Cadillac in gear. [Ex. B, pp. 76:22 – 77:22]

         34.     From the time Mr. Edwards entered the driveway at 1304 Franklin until the first

shot was fired was approximately 45 seconds. [Ex. F.]

         The officers’ post incident actions

         35.     After hearing the shots, Deputy Coutts observed Mr. Edwards go limp in the

driver’s seat. [Ex. D, 99:6 – 7]

         36.     Officer Sugars, with the help of Whiteside County Sheriff Deputy Elder, eventually

pulled an unresponsive Mr. Edwards from the Cadillac. [Ex. A, pp. 86:10 – 89:4, 90:3-13, Ex. C,

112:7 – 14, Deposition of Deputy Rollie Elder attached hereto as Exhibit E, pp. 36:12 – 24, 39:15-

19, Ex. J. pp. 39:4-40:15, Ex. L, pp. 36:22 – 37:1, Ex. M, p. 36:10 – 37:23, Ex O, pp. 33:22 –

34:1.]

         37.     Within a minute or two, Deputy Elder and Deputy Coutts starting rendering first

aid, including CPR and using an AED; they continued to administer CPR until the arrival of the




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paramedics. [Ex. A, p. 89:2 – 13, Ex. C, p. 113:5 – 114:5; Ex. D, pp 98:13 – 99:15; Ex. E, p.

36:12 – 16; Ex. E, pp. 39:21 – 16, See video attached hereto as Group Exhibit I, Ex. J. pp. 39:4-

40:15, Ex. L, pp. 36:22 – 37:1, Ex. M, p. 36:10 – 37:23, Ex O, pp. 33:22 – 34:14.]

        38.     Once on the ground, Mr. Edwards did not move. [Ex. C, p. 112:15-17.]

        39.     Mr. Edwards appeared to take an irregular gasping breath within the first few

seconds on the ground, however thereafter, he did not speak, had no pulse and was not breathing.

[Ex. C, p. 112:18 – 113:11, Ex D, pp. 99:21 – 101:5, 117:23 – 118:9, Ex. E, pp. 44:9 – 47:1, 55:19

– 57:16.]

        40.     Deputy Elder believed Mr. Edwards died immediately after the shots were fired.

[Ex. E, pp. 42:9 – 43:10

        Witnesses at the scene

        41.     Witnesses at the scene saw the Cadillac’s brake lights come on and saw the Cadillac

backing up. [Ex. M, pp. 31:12 – 32:4, Ex. N, pp. 26:8 – 27:7, 62:14-63:1, Ex. O, p. 29:8 -11, Ex.

P, p. 30:9 - 19.]

        42.     Several witnesses heard the Cadillac engine’s “rev” and stated that the Cadillac

accelerated while in reverse. [Ex. D, 96:7-10, 113:20 – 22, Ex. K, pp. 22:6 – 14, 28: 14-29:9, Ex.

L, pp. 23:15 – 24:2, 30:12 – 31:4, 36:21 – 38:4, 40:21 – 42:8, 56:4-5, Ex. M, pp. 23:19: - 26:3,

32:1 – 33:9, 62:12 – 20, Ex. O, p. 32:16 – 24, Ex. P, pp. 30:22 – 31:8.]

        43.     Witnesses at the scene believed that when Mr. Edwards reversed the Cadillac, that

the officers, including Defendant Cater, were in danger of being hurt or killed. [Ex. D, 95:8-21,

Ex E. p. 36:5-8, Ex. J. pp. 43:2 – 44:4, 62:2-6, Ex. K, pp, 29:10 – 30:2, Ex. L, pp. 40:21 – 42:8,

Ex. M, pp. 33:10 – 34:9; Ex. N, pp. 29:24 – 31:20, 62:14-63:8, Ex. O, pp. 29:21 – 30:18, Ex. P, p.

31:9 – 15, 38:6 – 10, 40:8 – 41:7, 72:20 – 73:8.]




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        Medical Examiner

        44.    The medical examiner determined that Mr. Edwards’ cause of death was four

gunshot wounds to his back. [Deposition of Dr. Mark Peters attached hereto as Exhibit Q, p. 43:7

– 6.]

        45.    Mr. Edwards blood alcohol level was .189, approximately twice the legal limit.

[Ex. Q. 6 – 14.]

        46.    Mr. Edwards had also ingested marijuana. [Ex. Q, p. 40:9 – 13]

        47.    The medical examiner did not know whether Mr. Edwards died at the scene. [Ex.

Q, p. 12:20 -21.]

        48.    The medical examiner did not know whether Mr. Edwards survived for any period

of time after the shooting. [Ex. Q, pp. 21:20 – 22:5, 32:4 – 22, 42:24 – 43:18.]

        The Whiteside County Attorney’s Investigation

        49.    Whiteside County State’s Attorney found that “Officer Cater’s actions in

discharging his weapon resulting in the death of Nathaniel T. Edwards is valid as self-defense”

and did not pursue any charges against Officer Cater. [Whiteside County State’s Attorney’s

Investigation Results attached hereto as Exhibit R, p. 11.]

        Parties’ Experts’ Opinions

        50.    Plaintiff’s expert, Chett Epperson, determined that “the fatal shooting of Nathaniel

Edwards and the use of deadly force by Rock Falls Police Department [ . . . ] Sergeant Jonathan

Cater was excessive, reckless and unjustified” and states that Sergeant Cater was standing next to

the rear passenger side tire when he discharged his weapon [See Mr. Epperson’s report attached

hereto as Exhibit S, pp. 1, 19.)




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          51.        Based on the same factors, Defendants’ experts, Michael Gerard and Dale Mann,

opined differently. Mr. Gerard opined that: (1) the actions of Officer Jonathan Cater were

reasonable and complied with the standard of care for law enforcement use of force; (2) the level

of force used by Officer Jonathan Cater was not excessive; (3) the level of force used by Officer

Jonathan Cater was reasonable. Mr. Mann opined based on the ballistic evidence that Sergeant

Cater discharged his weapon while behind the rear passenger side of the car. [See Mr. Gerard’s

and Mr. Mann’s expert reports attached hereto as Exhibits T and U, respectively.]

          WHEREFORE, based on all the above, Defendants SERGEANT JONATHAN CATER

and THE CITY OF ROCK FALLS, respectfully request that this Court grant their Rule 56 Motion

for Summary Judgment.

                                                    Respectfully submitted,

                                                    SERGEANT JONATHAN CATER, and
                                                    THE CITY OF ROCK FALLS

                                                    By:        s/Deborah Anne Ostvig



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